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8                           IN THE UNITED STATED DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00298 OWW
                                                     )
12                  Plaintiff,                       )
                                                     )   STIPULATION TO CONTINUE DATE FOR
13          vs.                                      )   SENTENCING; ORDER
                                                     )
14   DONALD MONACO,                                  )   DATE: January 24, 2011
                                                     )   TIME: 9:00 AM
15                  Defendant.                       )   Honorable Oliver W. Wanger
16

17          It is hereby stipulated between the parties that the sentencing hearing in this matter be
18   continued from January 24, 2011 at 9:00 am, to February 28, 2011 at 9:00 am. The reason for
19   the continuance is that counsel for the defendant is currently in trial in Tulare County Superior
20   Court in the case of People of the State of California v. Danny Williams, case no. VCF 22476.
21   Trial commenced on January 18, 2011, and is scheduled to last 4 to 5 weeks.
22
     Dated: January 19, 2011                               /s/Carl M. Faller
23                                                         CARL M. FALLER
                                                           Attorney for Defendant
24
                                                           BENJAMIN B. WAGNER
25
                                                    By /s/Kimerly Sanchez
26
                                                          KIMBERLY SANCHEZ
27                                                        Assistant U. S. Attorney
                                                          Attorney for the United States
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              Case 1:09-cr-00298-AWI Document 101 Filed 01/20/11 Page 2 of 2



1    ORDER:

2           IT IS ORDERED that defendant’s sentencing hearing currently set for January 24, 2011

3    at 9:00 am., be continued until February 28, 2011 at 9:00 am.

4
     IT IS SO ORDERED.
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6       Dated:    January 19, 2011                                         /s/ Oliver W. Wanger
                                                              UNITED STATES DISTRICT JUDGE
                                                     DEAC_Signature-END:




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